Case 2:23-cr-00197-JS-AYS Document 34 Filed 08/16/23 Page 1 of 2 PageID #: 178

                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
RCH/LZ/AB                                            271 Cadman Plaza East
F. #2022R01030                                       Brooklyn, New York 11201



                                                     August 16, 2023

BY ECF

The Honorable Joanna Seybert
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

The Honorable Orelia E. Merchant
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. George Anthony Devolder Santos
                      Criminal Docket No. 23-197                      .

                      United States v. Samuel Miele
                      Criminal Docket No. 23-327                                .

Dear Judge Seybert and Judge Merchant:

              Pursuant to Local Rule 50.3.2 and 50.4 of the Guidelines for the Division of
Business Among District Judges, the government hereby provides notice that the
above-referenced cases may be presumptively related.

                Local Rule 50.3.2(b)(1) provides for a “presumption that one case is ‘related’ to
another when the facts of each arise out of the same charged criminal scheme(s), transaction(s),
or event(s), even if different defendants are involved in each case.” Local Rule 50.3.2(c)(1)
directs the United States Attorney’s Office to “give notice to all relevant judges whenever it
appears that one case may be presumptively related to another pursuant to Section (b)(1).”

                This letter constitutes the notice directed by Local Rule 50.3.2(c)(1). These cases
may be presumptively related because the facts of each case arise out of overlapping events.
Specifically, a grand jury in United States v. Devolder Santos returned an indictment charging
defendant Devolder Santos with, among other things, five counts of wire fraud and three counts
of money laundering related to Devolder Santos’s efforts to defraud prospective contributors to a
Case 2:23-cr-00197-JS-AYS Document 34 Filed 08/16/23 Page 2 of 2 PageID #: 179




purported independent expenditure committee that would support his campaign for the U.S.
House of Representatives during the 2022 election cycle. Similarly, a grand jury in United
States v. Miele has returned an indictment charging Miele with four counts of wire fraud and one
count of aggravated identity theft related to Miele’s efforts to defraud prospective contributors to
Devolder Santos’s campaign for the U.S. House of Representatives during the 2022 election
cycle.1 As the cases may be presumptively related, the government respectfully provides notice
that reassignment may be appropriate, as it may result in a significant savings of judicial
resources and serve the interests of justice.

                                                      Respectfully submitted,

                                                      BREON PEACE
                                                      United States Attorney

                                              By:      /s/
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                                                      COREY R. AMUNDSON
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                                                      U.S. Department of Justice

                                              By:      /s/
                                                      Jacob R. Steiner
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                                                      Trial Attorneys, Public Integrity Section
                                                      U.S. Department of Justice

cc:    Kevin Marino, Esq. (via ECF)
       Joseph Murray, Esq. (via ECF)




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               To be clear, while the two cases arise out of overlapping events, the criminal
schemes charged in the two cases are distinct.
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